Case 1:04-cv-00312-L-DLM Document 1825 Filed 04/09/08 Page 1 of 4 PagelD #: 25243

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

ALBERT A. GRAY, ADMINISTRATOR, et al.,

Plaintiffs, Civ. No. 04-312-L

v.

JEFFREY DERDERIAN, et al.,
Defendants.

ESTATE OF JUDE B. HENAULT, et al.,

Plaintiffs, Civ. No. 03-483-L

v.
AMERICAN FOAM CORP., et al.,

Defendants.

Nome Nee Ne Nee ee ee ee Ne ee ee ee ee ee ee” ee ee” ee”

TAMMY PASSA, et al.,

Plaintiffs, Civ. No. 03-148-L

Vv.

JEFFREY DERDERIAN, et al.,

Nowe Nee Nee eee Nene Nee” Nene Nee eee”

Defendants.

RONALD KINGSLEY, et al.,

Plaintiffs, Civ. No. 03-208-L

Vv.
JEFFREY DERDERIAN., et al.,

Defendants.

Nee Ne Nee ee ee ee ee ee”
Case 1:04-cv-00312-L-DLM Document 1825 Filed 04/09/08 Page 2 of 4 PagelID #: 25244

BARBARA GUINDON, et al.,

Plaintiffs, Civ. No. 03-335-L

Vv.

AMERICAN FOAM CORP.., et al.,

Nowe Nee Ne ee ee” ee ee” Ne” Se”

Defendants.

LINDA RODERIQUEZ, et al.,

Plaintiffs, Civ. No. 04-026-L

Vv.

AMERICAN FOAM CORP., et al.,

Nee Nee Nee ee Nee Ne Ne” ee”

Defendants.

CHARLES SWEET, et al.,

Plaintiffs, Civ. No. 04-056-L

Vv.

AMERICAN FOAM CORP, et al.,

Nee Nee Nee Nee Nee ee” ee ee” ee”

Defendants.

ANDREW PASKOWSKL, et al.,

Plaintiffs, Civ. No. 05-002-L

Vv.
JEFFREY DERDERIAN,, et al.,

Defendants.

Nee Nee Nee ee ee ee ee’ ee”
Case 1:04-cv-00312-L-DLM Document 1825 Filed 04/09/08 Page 3 of 4 PagelD #: 25245

KATRINA KOLASA, et al.,

Plaintiffs, Civ. No. 05-070-L

Vv.

AMERICAN FOAM CORP., et al.,

Defendants.

DAVID MALAGRINO, et al.,

Plaintiffs, Civ. No. 06-002-L

Vv.

AMERICAN FOAM CORP., et al.,

Nowe Nee Nee Nee Ne Ne” ee” Se”

Defendants.

WILLIAM LONG, et al.,

Plaintiffs, Civ. No. 06-047-L

Vv.

AMERICAN FOAM CORP., et al.,

Newer Nee Nee Ne Nee Nee ee ee ee”

Defendants.

NEIL GONSALVES, et al.,

Plaintiffs, Civ. No. 06-076-L

Vv.

JEFFREY DERDERIAN., et al.,

Nee Nee Nee Nee eee Nee ee” Nee”

Defendants.
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STEPHANIE NAPOLITANO , et al.,

Plaintiffs, Civ. No. 06-080-L

Vv.

JEFFREY DERDERIAN, et al.,

Defendants.

FINAL JUDGMENT
AGAINST ALL PLAINTIFFS PURSUANT TO FRCP 54(b)

In accordance with the order of this court this date directing the entry of final
judgment pursuant to FRCP 54(b), Final Judgment hereby enters in favor of the defendants
named below and against all plaintiffs in all of the above captioned consolidated cases, with
prejudice as to all claims.

Essex Insurance Company

Anchor Solutions Co., Inc.

Gresham & Associates of R.I., Inc.
Gresham & Associates of Rhode Island, Inc.
Multi-State Inspections, Inc.

High Caliber Inspections, Inc.

V.B. Gifford & Company, Inc.

Certain Underwriters at Lloyd's, London

SPANNAWPYWNE

Dated at Providence, Rhode Island this 1 Lf day of April, 2008.

BY ORDER:
Deputy ¢lerk
